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         3                                                                          MAh 2 9 2012
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                                                                                                        f            .
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         5                                           .                    jy:                   . ..        Egtj.
                                                                                                                ry
         6                              IJNITED STATES DISTRICT COURT
         7                                    DISTRICT OF NEVADA

i        8 UNITED STATESOFAMERICA,                            )
                                                              )
                                   puintiff
         9                                 ,                  )     .                                            .
i                                                             )
i       10        ' v.                                        )          2:11-CR-317-LDO (CW H)              '       '
                                                     '        )
        11
                                                              )
        12 ROSALIE DELGADO,                                   )
                                                              )
        '
        j3                         Defendant.                 )
        14                           PRELIM INARY ORDER OF FORFEITURE

        15          n is courtfindsthaton M arch 29, 2012,defendantROSALIE DELGADO, pled guilty to
        16 cotmts One and Two ofthe Four cotmtCriminalIndictmentcharging herin CotmtOne with
                                               -



        17 C
            onspiracyto DistributeHeroininviolationofTitle21,United StatesCode, Sections84l(a)(1)and
        18
           846,and in CountTwo with Possession with lntentto Distribute Heroin in violation ofTitle 21,
        19
              UnitedStatesCode,Section 841(a)(1).
        20
        2          TM sCourttindsdefendantROSALIE DELGADO agreed to theforfeitttrbofthepropertyset
         1

        22 forth in Forfeim re A llegation ofthe Crim inalIndictm entand in the Plea M em orandum .
        23         n isCourttinds,purstmm to Fed.R . Crim.P.32.2(b)(l)and(2),theUnitedStatesofAmerica

        24 hasshow ntherequisitenexusbetweenpropertysetforthintheForfeitureAllegationoftheCdminal
        25 lndictm entand thePleaM emorandum andtheoffensestowhich defend
                                                                                   antROSALIE DELUADO
        26
              pled guilty.
f
                Case 2:11-cr-00317-LDG-CWH            Document 55        Filed 03/29/12      Page 2 of 3
N.

      1            The following assetsare subjectto forfeitureplzrsuantto Title l8,United StatesCode,
      2 Sections924(d)(1), (2)(C)and (3)1 )andTitle28,United S/tesCode,Section2461(c);andTitle
      3 21
            ,   United SutesCode,Section881(a)(11)andTitle28,UnitedStatesCode,Section2461(c);
      4
                   (a)   RemingtonArms,.38caliber,two-shotDerringerpistol,serialntlmber62;and
      5
                   (b)   anyanda1Iammunition(Clpropertf).
      6
      7            ThisCourtfindstheUnited StatesofAmericaisnow entitled to, and should,reducethe

      8 aforem entioned property to the possession ofthe U nited StatesofAm erica.
      9           N OW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED O tthe

     l0 U nited States ofA m erica should seize the aforem entioned property.

     11            ITISFURTHER ORDERED ,ADJIJDOED,AN D DECREED allright,title,and interestof
     l2   ROSALIE DELGADO i
                          ntheaforementionedpropertyisforfeited andisvestedintheUnited States
     13
          ofAm ericaand shallbesafelyheldbytheUnited StatesofAm ericauntilfurtherorderoftheCom't.
     14
                   IT ISFURTHER ORDERED,ADJUDGED,AND DECREED theUnitodStatesofAmerica
     15
     l6 shallpublishforatleastthirty (30)consecutivedaysontheofficialinternetgovenunentforfeiture

     l7   w ebsite,w'w w .forfeitktre.covsnotice ofthisOrder,w hich shalldescribe the forfeited property, state

     !g thetimeundertheapplicablestatutewhenapetitioncontestingtheforfeiturem ustbefiled, and shte

     19 the nam e mld contactinform ation forthe govem mentattorney to be served with the petition,

     20 pttrsuantto Fed. R.Crim.P.32.2(1
                                       $(6)andTitle21,United StatesCode,Section 853(n)(2).
     21            IT Is FURTHER ORDERED 7ADJUDGED AND DECREED apetition,ifany,mustbe
                                                               ,

     22   til
            ed with the Clerk oftheCourt,333LasVegasBoulevard South, LmsVegas,Nevada 89101.
     23
                   IT JSFURTHER ORDERED,ADJUDGED,AND DECREED acopyoftbepetitionp ifany,
     24
        shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney'sOffice atthe
     25
     26 following addressatthetim eoffiling:
             Case 2:11-cr-00317-LDG-CWH           Document 55       Filed 03/29/12     Page 3 of 3
&

     l                 M ichaelA . H tunphreys
                       A ssistantU nited StatesA ttorney
                       D anielD .Hollingsworth
                       A ssistantU nited StatesA ttorney
                       Lloyd D,GeorgeUnited StatesCourthouse
                       333 LasVegas Boulevard South,Suite 5000
                       Las V egas,N evada 89101,

                IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenoticedescribedherein

         need notbe published in tht event aD eolaration ofForfeiture isissued by tht appropriate agency

         followingpublicationofnoticeofseizureand inttnttoadministratively forfeittheabovt-described

         property.

                ox-
                  rsothisJi dayofu                               ,2012.
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